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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

 

UNITED STATES OF AMERICA

v. CASENO. 3:20-cr- @-O- 2OMLR
21 U.S.C. § 841
18 U.S.C. § 922(g)(1)
CHRISTOPHER CARTER
INDICTMENT
The Grand Jury charges:
COUNT ONE

On or about November 5, 2019, in the Middle District of Florida, and
elsewhere, the defendant,
CHRISTOPHER CARTER,
did knowingly and intentionally distribute a controlled substance, which violation
involved a mixture and substance containing a detectable amount of cocaine, a
Schedule II controlled substance and is therefore punished under 21 U.S.C. 8
841(b)(1)(C).

In violation of 21 U.S.C. § 841(a)(1) and 841(b)(1)(C).

COUNT TWO
On or about November 6, 2019, in the Middle District of Florida, the

defendant,
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CHRISTOPHER CARTER,
knowing he had previously been convicted of a crime punishable by imprisonment
for a term exceeding one year, including, Possession of Cocaine, on or about May
25, 2010, did knowingly possess, in and affecting interstate and foreign commerce,

a firearm, that is, Glock 9mm pistol.

In violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

COUNT THREE
On or about January 8, 2020, in the Middle District of Florida, the
| defendant,
CHRISTOPHER CARTER,

knowing he had previously been convicted of a crime punishable by imprisonment .
for a term exceeding one year, including, Possession of Cocaine, on or about May
25, 2010, did knowingly possess, in and affecting foreign commerce, a firearm, that
is, Romarm 1.62 caliber pistol.

In violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

FORFEITURE
1. The allegations contained in Counts One through Three are

incorporated by reference for the purpose of alleging forfeiture pursuant to the

_ provisions of 21 U.S.C. § 853, 18 U.S.C. § 924(d), and 28 U.S.C. § 2461(c).
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2. Upon conviction of a violation of 21 U.S.C. § 841(a)(1), the defendant
shall forfeit to the United States, pursuant to 21 U.S.C. § 853(a)(1) and (2), any
property constituting, or derived from, any proceeds the defendant obtained,
directly or indirectly, as a result of such violation, and any property used, or
intended to be used, in any manner or part, to commit, or to facilitate the
commission of, such violation.

3. Upon conviction of a violation of 18 U.S.C. §§ 922(g)(1), the
defendant shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d) and 28
US.C. § 2461(c), all firearms and ammunition involved in or used in the violation.

4. If any of the property described above, as a result of any acts or
omissions of the defendant: |

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;

Cc. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or
e. has been commingled with other property, which cannot be
divided without difficulty,
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the United States shall be entitled to forfeiture of substitute property pursuant to 21

U.S.C. § 853(p); and pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C.

 

§ 2461(c).
A TRUE BILL,
Fordp erson
MA CHAPA LOPEZ

 
   

Unitéd States

 

 

—~ Frank Talbot
Assistant United States Attorney
Chief, Jacksonville Division
FORM OBD-34
1/21/20 Revised

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No.

 

UNITED STATES DISTRICT COURT
Middle District of Florida
Jacksonville Division

THE UNITED STATES OF AMERICA
VS.

CHRISTOPHER CARTER

 

INDICTMENT
Violations: 21 U.S.C. § 841
18 U.S.C. § 922(g)(1)

 

A true bill

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VV
Foreperson

 

Filed in open court this A WW say

of January, 2020.

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Clerk

 

Bail $

 

 

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